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            IN THE UNITED STATES DISTRICT COURT
          FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

                                          :
DONALD J. TRUMP FOR                       :
PRESIDENT, INC., et al.,                  :
                                          :      NO. 20-CV-02078-MWB
                      Plaintiffs,         :
                                          :
           v.                             :
                                          :
KATHY BOOCKVAR, in her capacity           :
as Secretary of the Commonwealth of       :
Pennsylvania, et al.,                     :
                                          :
                      Defendants.         :
                                          :

           MEMORANDUM OF LAW IN SUPPORT OF
   MOTION OF ALLEGHENY COUNTY BOARD OF ELECTIONS,
   CHESTER COUNTY BOARD OF ELECTIONS, MONTGOMERY
  COUNTY BOARD OF ELECTIONS, AND PHILADELPHIA COUNTY
 BOARD OF ELECTIONS TO DISMISS THE COMPLAINT OR, IN THE
ALTERNATIVE, TO DISMISS PENDING STATE-COURT RESOLUTION
                OF STATE-LAW QUESTIONS
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                                 INTRODUCTION

      This Court should see this lawsuit for what it is: a transparent and

premeditated attack on our electoral system that broadly seeks to disenfranchise all

Pennsylvania voters who legally cast ballots in this election. This extraordinary

request to enjoin certification of the Presidential election, boiled down to its essence,

is based on recycled, narrow, and meritless contentions that partisan observers

needed an enhanced view of the canvass process and that the named County Boards

of Election (“Counties”) violated the Pennsylvania Election Code—claims that have

been considered and rejected by other federal courts or are presently pending in state

court. These claims are untimely, bereft of plausible facts, lacking Article III

standing, warranting abstention in favor of pending state-court litigation on the same

subject-matter, and unhinged from any viable constitutional theory of relief. None

of these claims will affect the outcome of the election and they should be swiftly

dismissed.

      The instant effort to discredit mail-in ballots is part of a long-publicized

litigation strategy by the Trump Campaign. Yet, in piecemeal litigation brought by

the Trump Campaign before and during the election, sister federal district courts and

the Pennsylvania state courts repeatedly rebuffed any suggestion that mail-in ballots
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are inherently suspect or susceptible to fraud. 1 See, e.g., Donald J. Trump for

President, Inc. v. Boockvar, — F. Supp. 3d —, No. 20-cv-966, 2020 WL 5997680,

at *1 (W.D. Pa. Oct. 10, 2020); Donald J. Trump for President, Inc. v. Phila. Cnty.

Bd. of Elections, No. 20-cv-5533-PSD (E.D. Pa. Nov. 3, 2020); Donald J. Trump for

President, Inc. v. Way, No. 20-10753, 2020 WL 6204477, at *1 (D.N.J. Oct. 22,

2020).

         This Complaint reprises those losing arguments here to ask this Court to take

the extraordinary measure of enjoining certification of a Presidential election based

on little more than the Trump Campaign’s dissatisfaction with the General

Assembly’s mail-in ballot process. This more audacious version of already-failed

claims cannot be permitted to overthrow Pennsylvania’s election results.

         This Court should dismiss this action for lack of Article III Standing because

the Trump Campaign and individual Plaintiffs assert no injury from their canvass-

observation and small-scale ballot challenges. That is, they cannot and do not allege

that these challenges could impact the election in such a way as to require the

disenfranchisement of all Pennsylvania voters.

         Even if this Court were to exercise jurisdiction, the Trump Campaign pleads

no cognizable constitutional claims. No constitutional rights are implicated by



   1
    See, e.g., Am. Compl., Donald J. Trump for President, Inc. v. Boockvar, No.
20-CV-966 (W.D. Pa. June 29, 2020), ECF No. 1.

                                            2
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Plaintiffs’ generalized grievances about Trump Campaign representatives’ ability to

closely observe the ballot counting process—a claim premised on a patently

incorrect reading of Pennsylvania law. Although the precise contours of any

observation rights are pending before the Pennsylvania Supreme Court, 2 it is clear

that Pennsylvania law provides neither a right to “inspect” mail-in ballots (which is

implicit in the Trump Campaign’s settlement of similar claims before U.S. District

Judge Diamond), 3 nor a presumption that such ballots are somehow invalid unless

the Trump Campaign’s partisan observers conducted some sort of independent

verification. In any event, the state-law rules and Board of Elections regulations

governing qualified ballot observers are designed to promote (not thwart) the

security of the mail-in ballots, to ensure the privacy of ballots, to assist in the

efficient and timely count of the vote, and to address the serious health concerns

posed by COVID-19, which require social distancing among those administering the

count and observers, all while providing a transparent and open process. It was well

within the Counties’ broad discretion to establish such rules that reasonably balanced

these weighty interests and to implement them in ways that accounted for natural

differences between the size of available ballot-counting locations, the volume of



   2
     In re Canvassing Observation, No. 425 EAL 2020, 2020 WL 6556414, at *1
(Pa. Nov. 9, 2020).
   3
     Donald J. Trump for President, Inc. v. Phila. Cnty. Bd. of Elections, No. 20-cv-
5533-PD (E.D. Pa. Nov. 3, 2020), ECF No. 6.

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ballots, and the security and health risks amid a global pandemic. None of these

considerations give rise to any inference of fraud or malfeasance, let alone a

cognizable federal constitutional claim.

      The Trump Campaign’s complaints about “curing” mail-in ballots and

challenges to the voter instructions regarding provisional ballots also fall entirely

flat. At the outset, the number of ballots the Trump Campaign has placed at issue

make this lawsuit futile. Moreover, the counting of provisional ballots is ongoing,

and there are well-established state-court processes for challenging provisional

ballots. The Trump Campaign cannot invoke federal jurisdiction to derail a state-

court process midstream, particularly because those provisional ballots would not be

outcome determinative of the Presidential election. None of this pleads a federal

claim for relief—and certainly not one that warrants the extraordinary remedy of

throwing out large swaths of Pennsylvanians’ mail-in ballots.

      Aside from these meritless observation and cure claims, all that is left of the

Complaint is innuendo and scattershot assertions of individual ballot and polling

place irregularities, which do not show any actual fraud, much less particularized

and credible allegations of widespread and systemic fraud by state election officials,

which would be required to seek the extraordinary relief of invalidation in a

Presidential election. Isolated, garden-variety instances of poll and ballot scanning




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hitches do not amount to a federal constitutional claim and cannot invalidate millions

of duly cast votes.

      In the alternative, this Court should abstain in light of pending state-court

litigation on precisely the questions belatedly raised before this Court. The

Pennsylvania Election Code sets forth a detailed administrative process for

challenging the validity of voted ballots or contesting the election and the

Pennsylvania judiciary is poised and best able to decide Plaintiffs’ claims.

      The Trump Campaign’s attempt to indiscriminately throw out mail-in votes

threatens the fundamental rights of all Pennsylvania voters to cast their ballots in the

manner prescribed by the state legislature and the County Boards of Elections and

to have their votes counted. The right to vote as the legislature has prescribed is

fundamental, and “necessarily includes the right to have the vote fairly counted.”

Reynolds v. Sims, 377 U.S. 533, 554 (1964). It is this lawsuit that threatens

Pennsylvanians’ core constitutional rights, not any action by state and County

election officials. Accordingly, this Court should dismiss this unfounded attack on

the vote-counting process, which fails to state a federal constitutional claim.

 THE STATUTORY FRAMEWORK OF PENNSYLVANIA MAIL-IN AND
                   ABSENTEE VOTING

      There should be no mistake, this case is not about fraud or the legality of the

more than 2.6 million mail-in and absentee ballots cast in Pennsylvania. It is a

candidate’s audacious attempt to overturn the results of a free and fair election.


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Variations of the word “fraud” appear 33 times in the Complaint, yet there is not a

single allegation of fraud by the Counties (or County officials) during this election.

Defendants are aware of no credible claims of fraud. And no facts are alleged that

would come close to justifying the disenfranchisement of every voter in the

Commonwealth.

      The Trump Campaign’s claims ignore the context of Act 77’s passage and are

based on a misinterpretation of that law. The General Assembly enacted Act 77 to

expand access to mail-in voting as an option available to voters beginning with the

spring primaries, a measure that ultimately became important to maintaining

Pennsylvania’s 2020 public health in light of the continuing threat posed by the

COVID-19 global pandemic. In anticipation of higher-than-usual use of mail-in and

absentee ballots amid the pandemic, the Counties embraced their responsibility to

ensure such votes were properly counted in a transparent and ethical manner. As

more fully described below, each step of the process (including pre-canvassing and

canvassing the mail-in ballots) was done in accordance with the Election Code. And

that is precisely why the Trump Campaign has made no plausible allegations that

support their unsubstantiated fraud claims.

I.    The General Assembly’s Expansion of the Opportunity for Voters to
      Use Mail-In Ballots: Act 77 of 2019 and the 2020 Presidential Election

      The General Assembly enacted Act 77 in October 2019 to allow all qualified

voters to vote by mail regardless of absentee status. See Pa. Democratic Party v.


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Boockvar, 238 A.3d 345, 2020 WL 5554644, at *1 (Pa. Sept. 17, 2020). Additional

legislative enactments on mail-in voting procedures went into effect on March 27,

2020 (just weeks after the Commonwealth began responding to the COVID-19

pandemic). See, e.g., 25 P.S. § 3150.16 (“Voting by mail-in electors”). Through

these recent legislative enactments, the Commonwealth’s legislature made an

informed choice that determined how Pennsylvania’s 2020 election would be

conducted.

       To participate in an election, voters in Pennsylvania must be registered. The

process of registering to vote verifies the voter’s identity and eligibility. Proof of

identity requirements are the same whether that voter votes in person or by mail.

Under Pennsylvania law, qualified voters had until October 19 to register to vote,

and until October 27 to apply for a mail-in or absentee ballot for the general election

held on November 3. 25 P.S. § 3017. While Election Day was held on Tuesday,

November 3, counties were, of course, permitted to count votes in the days that

followed. 4 The last day for county boards of elections to file official returns from the

November 3 election with the Secretary of the Commonwealth is November 23,




   4
     Any claim that all votes must be counted by the conclusion of Election Day is
plainly specious. The Election Code does not permit the count of mail-in votes even
to begin until Election Day—that is the start, not the conclusion of the canvassing
process. 25 P.S. § 3146.8. In fact, overseas absentee ballots have one week to arrive.
Id. § 3146.8(g).

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2020. 25 P.S. § 2642. All state recounts and court contests must be completed by

December 8, 2020. 3 U.S.C. § 5.

          The public health crisis drove record numbers of qualified voters to follow

this process and request mail-in ballots for the general election. Excluding the

provisional ballots currently being processed, the Commonwealth has reported that

2,570,076 votes were cast by mail and an additional 4,189,015 were cast in person.

Pa. Dep’t of State, Reporting Center (last accessed Nov. 11, 2011), available at

https://www.electionreturns.pa.gov/. 5 At every stage of the election, there was a

clear accounting for eligible, registered voters and the ballots they cast. This process

prevented the widespread malfeasance Plaintiffs insinuate (but do not plausibly

plead) in the Complaint.

II.       The Process for Obtaining a Mail-in or Absentee Ballot
          The arc of an absentee or mail-in ballot has a clear, predictable, and

accountable trajectory. In order to vote by mail in Pennsylvania, a qualified,

registered voter must apply for a mail-in or absentee ballot from the county board of



      5
     In evaluating a Rule 12(b)(6) motion, the Court may take judicial notice of
matters of public record such as letters of government agencies and published reports
of administration bodies. Schmidt v. Skolas, 770 F.3d 241, 249 (3d Cir. 2014). The
Third Circuit has noted that where “information is publicly available on government
websites” it is appropriate to take judicial notice of it. Vanderklok v. United States,
868 F.3d 189, 205 n.16 (3d Cir. 2017). For the Court’s convenience, a Declaration
that contains relevant court orders and pleadings is being filed in support of this
motion.

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elections, which verifies proof of identification and compares the information

provided on the ballot application with the information in the voter’s registration

profile. 25 P.S. § 3150.12. After the county board of election receives an application,

it must be satisfied that the applicant is qualified to receive a ballot before marking

the application as “approved.” 25 P.S. §§ 3150.12b(a)(1) (mail-in ballots); id. at

§§ 3146.2b(c) (absentee ballots).

        The county board of election’s approval decision is final and binding, except

that challenges may be made concerning a voter’s qualifications. 25 P.S.

§§ 3150.12b(a)(2), 1302.2-D(a)(2), 3146.2b(c), 1302.2(c). Any challenges of this

nature were required to be lodged with the county board of elections before 5:00

p.m. on the Friday prior to the election—October 30, 2020. 25 P.S.

§§ 3150.12b(a)(3), 1302.2-D(a)(3), 3146.2b(c), 1302.2(c). Plaintiffs filed no such

challenge. The window of opportunity to challenge the qualifications of mail-in

voters therefore closed days before the pre-canvassing or canvassing phase and no

level of access to or observation of the Election Day activities would have changed

this.

                             PROCEDURAL HISTORY

        This action is not the Trump Campaign’s first litigation effort in Pennsylvania.

The Trump Campaign has repeatedly put forward baseless assertions of voter fraud

in a scattershot approach to litigating election issues in the Commonwealth, with



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many of the same issues raised here pending before (or already decided by) other

state and federal courts. Many, if not most, of the allegations, themes and claims in

this Complaint are retreads of material from those previous actions. For example:

         • Signature verification. The Trump Campaign alleges that certain
           counties have acted “illegally” because they did not reject mail-in and
           absentee ballots based on signature analysis. Compl. ¶¶ 104-05. The
           Trump Campaign does not mention, however, that the Pennsylvania
           Supreme Court recently held that counties may not reject ballots for that
           reason. See In re Nov. 3, 2020 Gen. Election, — A.3d —, No. 149 MM
           2020, 2020 WL 6252803, at *14 (Pa. Oct. 23, 2020); see also Donald
           J. Trump for President, Inc, 2020 WL 5997680, at *53 (W.D. Pa. Oct.
           10, 2020).

         • A “two-tiered” or “two-track” voting system. The Trump Campaign
           alleges that differences between in-person and mail-in voting violate
           voters’ constitutional rights. Compl. ¶¶ 13-14. The Western District of
           Pennsylvania has rejected this theory. Donald J. Trump for President,
           Inc, 2020 WL 5997680, at *61-62.

         • Notice and cure. The Trump Campaign alleges that “Democratic-
           heavy counties” notified voters of technical problems with their ballots,
           which allowed the voters to cure these deficiencies by correcting their
           ballots or casting provisional ballots, and that this process was illegal.
           Compl. ¶¶ 6-7. On November 3, 2020, the Republican Party sued at
           least two counties in state trial courts, seeking to prohibit them from
           publishing lists of such voters. After losing each case, the Republican
           Party declined to appeal. 6 Republican candidates also sued regarding
           ballot notice and cure in the Eastern District of Pennsylvania, then
           withdrew the suit after argument. Barnette v. Lawrence, No. 20-cv-

   6
     See In re Mot. for Injunctive Relief of Northampton Cnty. Republican Comm.,
No. C-48-CV-2020-6915 (Northampton C.C.P. Nov. 3, 2020), available at
https://www.democracydocket.com/wp-content/uploads/sites/45/2020/11/ORDER-
11-3-20.pdf; Donald J. Trump for President, Inc. v. Bucks Cnty. Bd. of Elections,
No.     2020-05627 (Bucks          C.C.P. Nov.      3,    2020),   available   at
https://www.democracydocket.com/wp-content/uploads/sites/45/2020/11/Bucks-
County-Lawsuit.pdf.

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             5477 (E.D. Pa. Nov. 3, 2020). Finally, Republican candidates filed suit
             in the Pennsylvania Commonwealth Court. Hamm v. Boockvar, No.
             600 MD 2020 (Pa. Commw. Ct.). That case is stayed, and the parties
             have not tried to lift the stay.

          • Susceptibility of mail voting to “fraud.” The Trump Campaign
            argues, citing decades-old anecdotes from other jurisdictions and
            authors’ hypotheticals, that voting by mail is “particularly susceptible
            to fraud.” Compl. ¶ 50. The Trump Campaign does not, however,
            present any examples of fraud in the recent election 7 and have been
            unable to do so when pressed in other cases. 8

          • Ballot receipt extension. The Trump Campaign complains that
            Secretary Boockvar extended the deadline for receipt of mailed ballots,
            Compl. ¶ 13, and that such ballots were not segregated from other
            ballots, id. ¶ 151. But the Pennsylvania Supreme Court ordered the
            extension, see Pa. Democratic Party v. Boockvar, 238 A.3d 345 (Pa.
            2020), and Justice Samuel A. Alito has ordered the counties to
            segregate ballots received during the extension period, see Order, No.
            20A84 (U.S. Nov. 6, 2020); see also Pa. Dep’t of State, Pennsylvania
            Guidance for Mail-in and Absentee Ballots Received from the United
            States Postal Service after 8:00 p.m. on Tuesday, November 3, 2020
            (Oct.            28,           2020),           available            at
            https://www.dos.pa.gov/VotingElections/OtherServicesEvents/Voting
            ElectionStatistics/Documents/2020-10-28-Segregation-Guidance.pdf.

   7
      The Trump Campaign claims unspecified instances where voters received
unsolicited mail-in ballots requiring submission of a provisional ballot, isolated
reports that a poll worker did not properly spoil mail-in ballots surrendered at in-
person polling places (but no actual claims of double counting votes), the potential
for alteration of over-voted or under-voted ballots (but no actual alteration), and the
appearance of unspecified “additional ballots” in Delaware County. See Compl.
¶¶ 116-17, 120, 133-34.
    8
      See Trump v. Boockvar, 2020 WL 5997680, at *61 (holding Trump Campaign,
despite opportunity to present evidence of fraud, provided only speculation); Donald
J. Trump for President, Inc. v. Montgomery County Board of Elections, No. 2020-
18680, Montgomery County C.C.P,, Nov. 10, 2020 Tr. at 11 (Judge: “Are you
claiming that there is any fraud in connection with these 592 disputed ballots?”
Plaintiff’s counsel: “To my knowledge at present, no.”).


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             Ballots that arrived after November 3 were segregated by the counties.
             See Republican Party of Pa. v. Boockvar, 2020 WL 6536912 (U.S. Nov.
             6, 2020) (confirming the Commonwealth’s guidance that ballots with a
             delayed arrival should be segregated).

          • Access and observation of canvassing activities. Counts I, II, and III
            of the Complaint all relate to alleged violations of Pennsylvania state
            law by failing to allow access by the Trump Campaign to view the
            canvassing process. Around 9:45 p.m. on November 3, the Trump
            Campaign re-filed a motion that it had initially withdrawn, relating to
            access in the Philadelphia Election Court. 9 This motion was ultimately
            denied by Judge Stella Tsai in the Election Court, shortly before
            midnight the same night. 10 While initially reversed by the
            Commonwealth Court, see In re Canvassing Observation, No. 1094 CD
            2020-CFC (Pa. Commw. Ct. Nov. 5, 2020), the Philadelphia County
            Board of Elections filed a petition for allowance of appeal with the
            Pennsylvania Supreme Court, which operated as an automatic
            supersedeas on the Commonwealth Court’s order. Despite the stay, the
            Philadelphia County Board endeavored to comply with the
            Commonwealth Court’s order, reconfiguring the canvassing room by
            moving the barrier at the front of the observer area up to within six feet
            of the first row of canvassing activities. On November 9, 2020, the
            Pennsylvania Supreme Court granted allocatur; briefing is scheduled to
            be completed by Friday, November 13. See Docket, No. 30 EAP 2020
            (Pa.).



   9
     In re Canvassing Operation, No. 201107003-Tsai (Phila. Ct. Com. Pl. Nov. 3,
2020) (first motion); Order, In re Canvassing Operation, No. 201107003 (Phila. Ct.
Com. Pl. Nov. 3, 2020)(Tsai, J.), D.E. 2.
   10
       Judge Tsai’s decision was based on her factual and legal findings “the
accommodations afforded to campaign representatives to observe election board
employees complied with the relevant provisions of the election code and denied the
petition.” Opinion, In re Canvassing Operation, No. 201107003 (Phila. Ct. Com. Pl.
Nov. 4, 2020)(Tsai, J.), D.E. 6, at 1. The opinion further held that “[i]n creating the
physical layout, the Board struck the proper balance between the observers’ ability
to observe the canvassing process and the paramount interest of voter privacy as
there are declaration envelopes that are being opened, secrecy envelopes that are
being opened, and ballots that are being extracted.” Id. at 3.

                                          12
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               On November 5, 2020, the Trump Campaign filed another action
               against the Philadelphia County Board of Elections, requesting
               emergency injunctive relief for canvass observers. Donald J. Trump for
               President, Inc. v. Phila. Cnty. Bd. of Elections, No. 20-cv-5533-PSD
               (E.D. Pa. Nov. 5, 2020). An injunction hearing occurred at 5:30 p.m.
               and the motion was denied as moot after the parties reached an
               agreement resolving the issue. Id., Order (Nov. 5, 2020), ECF No. 5.

          In sum, nearly every issue in the Complaint has already been adjudicated and

rejected by, or is presently pending in, Pennsylvania’s courts.

                                     ARGUMENT

I.        The Trump Campaign Makes No Plausible Claims of Election Fraud
          The Trump Campaign has set up hotlines, enlisted and dispatched poll

watchers across the Commonwealth, and appealed to local and national elected

officials (who have offered cash rewards for examples of “fraud” in Pennsylvania 11)

in an attempt to locate benign voter irregularities it could transform into claims of

voter fraud. Despite these efforts, the Trump Campaign alleges no facts (and points

to no evidence) to suggest the procedures implemented in Pennsylvania led to voter

fraud or otherwise corrupted the integrity of the present election. And the Trump

Campaign’s failure to allege such facts is not a surprise. Pennsylvania’s mail-in

ballot procedures were a success, allowing over 2.6 million Pennsylvania voters the



     11
      Press Release: Patrick offers up to $1 Million in Rewards for Voter Fraud
Whistleblowers       &       Tipsters,     Texans       for     Dan       Patrick,
https://www.danpatrick.org/patrick-offers-up-to-1-million-in-rewards-for-voter-
fraud-whistleblowers-tipsters/?fbclid=IwAR2gWbGwdo1wwtmKzfFMQgjG
Evp5uzrrmugenZcdy5gPPCytRsAyo8NiP3A (last visited Nov. 11, 2020)

                                           13
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opportunity to safely vote amid a deadly global pandemic. The Trump Campaign,

however, is undeterred. It now claims, without a shred of credible evidence, that

Pennsylvania’s mail-in ballot procedures resulted in fraud. This claim is simply not

plausible. See Fed. R. Civ. P. 8(a). As such, Plaintiffs’ not-so-veiled attempt to

maintain political power at the expense of Pennsylvania voters should be summarily

dismissed.

        To sustain a claim sounding in fraud, The Trump Campaign must plead the

facts of fraud with particularity. See Fed. R. Civ. P. 9(b); cf. Digenova v. Baker, No.

02-98, 2002 WL 32356401, at *2 (E.D. Pa. Apr. 11, 2002) (applying heightened

pleading requirement to allegation of fraud in a union election). Conspiracy theories

repackaged from the darkest corners of the internet do not support a federal claim.

As relevant here, this means that to sustain their claims, The Trump Campaign must

allege “the who, what, when, where, and how” of the alleged fraud. 12              See

Institutional Inv’rs Grp. v. Avaya, Inc., 564 F.3d 242, 254 (3d Cir. 2009) (explaining

Rule 9(b) requirements). They must allege who committed fraud rather than simply

implying that 2.6 million voters cannot be trusted. They must allege exactly what

the fraudulent activities were, as well as where and when those actions took place.


   12
     Plaintiff Donald J. Trump for President, Inc. itself recognized this standard just
four years ago in litigation concerning a third-party candidate’s attempt to seek a
recount in light of flimsy allegations of voter fraud. See Memo. of Donald J. Trump
for America, Inc in Opposition to Pls’ Mtn. for Preliminary Injunction, No. 16-6287,
Dkt. 38, at 22-23 (E.D. Pa. Dec. 8, 2016).

                                          14
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And they must identify who was involved in those activities. Their insinuation that

illegal or fraudulent voter activity resulted from the procedures implemented by the

Commonwealth and County Boards of Election does not come close to this standard.

        The Trump Campaign’s attempt to repackage their allegations of fraud as a

widespread attack on Pennsylvania’s mail-in voting procedures based on the

unsupported premise that mail-in votes are inherently suspect. Such rhetoric—

espoused by relying on irrelevant historical anecdotes, inapplicable international

election “standards,” and speculative theories of potential voter fraud—does not

suffice to state a claim. See, e.g., Compl. ¶¶ 4, 55-56 (discussing historical

significance of Pennsylvania’s vote by mail efforts and historical commentary of

voter fraud); ¶¶ 46-50 (referencing “international standards”).

        The Trump Campaign further claims that “no one—not the voters and not

Trump’s campaign—can have faith that their most sacred and basic rights under the

United States Constitution are being protected.” Id. ¶ 2.13 But nothing in the

Complaint provides any factual basis to believe the election or its implementing

procedures were tainted by fraud. The Trump Campaign does not even come close

in that regard. For example, the Trump Campaign claims that procedures



   13
      This argument is particularly concerning given the fact that the Trump
Campaign asks this Court to strip Pennsylvania voters of their right to vote and
apparently hand the decision of who will represent the Commonwealth of
Pennsylvania in the Electoral College to the General Assembly.

                                         15
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administered by the Counties resulted in ill-defined fraud because those procedures

impacted the ability of Republican poll watchers to observe the “receipt, review,

opening, and tabulation,” of all of this election’s 2,600,691 absentee and mail-in

ballots. See, e.g., Compl. ¶¶ 4, 10. Yet it alleges no facts to support this claim. The

Trump Campaign has not alleged that all Republican poll watchers were denied

access to observe canvassing activities—but it has been admitted in open court that

that is not true. 14 Nor does the Trump Campaign allege any facts to suggest that the

procedures governing poll watchers applied differently to Republicans and

Democrats. See, e.g., id. ¶ 145 (detailing Court Order that applied to “all candidates,

watchers, [and] candidate representatives”); id. ¶ 146 (noting all watchers were

“allowed to be within 6 feet” of the canvassing process).

        The Trump Campaign instead alleges only that “in some [undefined]

instances” Republican poll watchers were denied access to observe canvassing

activities. Id. ¶ 142. This is not enough to invalidate a single vote, let alone millions.

Without more, this Court, the Counties, and more importantly, the public, are left to

wonder what exactly the Trump Campaign believes would warrant casting aside the



   14
     In Philadelphia, for example, the Trump Campaign acknowledged in court that
Republican poll watchers were permitted to observe canvassing activity. See Nov.
5, 2020 Hr’g Tr., Donald J. Trump for President, Inc. v. Phila. Cnty. Bd. of Elections,
No. 20-cv-5533 (E.D. Pa.) (Q: “I’m asking you as a member of the bar of this Court,
are people representing the Donald J. Trump for President . . . in room [provided to
poll watch]?” A: “Yes.”).


                                           16
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will of Pennsylvania voters when federal courts in this Commonwealth have already

concluded that the Trump Campaign cannot state constitutional claims “based on

speculation that . . . alleged instances of voter fraud would be prevented by . . . poll

watchers were they not precluded from serving at [specific] locations.” Cortes, 218

F. Supp. 3d at 407.

      Because the Trump Campaign has yet to put forward a single plausible, much

less particular, factual allegation to support any of the claims asserted, the Complaint

should be dismissed in its entirety.

II.   Plaintiffs Lack Standing to Pursue Their Claims
      The Plaintiffs in this case—the Trump Campaign and two individual voters—

lack Article III standing. Their Complaint contains no plausible facts that would

change the outcome of this election, they lack associational standing to represent

voter or even the candidate’s interests, and they fail to otherwise plead the

constitutional elements necessary to pursue the extraordinary relief of enjoining the

Presidential election: injury-in-fact; causation; and redressability.

      A.     Plaintiffs Fail to Allege an Injury in Fact

      A cognizable “injury in fact” requires “an invasion of a legally protected

interest which is (a) concrete and particularized, and (b) actual or imminent, not

conjectural or hypothetical.” Lujan v. Defenders of Wildlife, 504 U.S. 555, 560

(1992) (internal citations and quotation marks omitted). Allegations resting on



                                          17
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“highly speculative fear” or “a highly attenuated chain of possibilities” do not satisfy

these requirements. Clapper v. Amnesty Int’l USA, 568 U.S. 398, 410-11 (2013).

Neither the Trump Campaign nor the two individual voters have therefore pled an

injury in fact.

               1.     The Trump Campaign Does Not Allege an Injury in Fact

        The Complaint contains only two paragraphs with specific ballot grievances,

allegedly affecting: (1) four voters in Fayette County; (2) nine voters in Luzerne

County 15; and (3) one voter in an unidentified County. Compl. ¶¶ 57, 119. As of

November 12, 2020, Joseph R. Biden earned 50,000 more votes than President

Trump in Pennsylvania. 16 Even if all 14 ballots were invalid or unlawful, and even

if they were all cast for President Trump, which the Trump Campaign admits they

were not, these votes would not affect the outcome of the election. See Bognet v.

Boockvar, No. 20-215, 2020 WL 6323121 (W.D. Pa. Oct. 28, 2020)(holding that

there was no standing because the “number of ballots cast in favor of his opponent

would have to be sufficient to change the results of the election” and allegations

attempting to support this fact were conjectural and speculative). As such, the Trump

Campaign has not suffered an injury in fact on the basis that the election results

would somehow be different but for these 14 allegedly invalid ballots.



   15
        These ballots were allegedly discarded by a temporary election worker.
   16
        Pa. Secretary of State, available at https://www.electionreturns.pa.gov/.

                                           18
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      The remainder of the Complaint’s allegations constitute wholly speculative

fears of election malfeasance with no factual basis. Such speculative fear of fraud or

malfeasance cannot constitute an injury in fact. In Stein, a 2016 election candidate

alleged that machine hacking may lead to inaccurate voter counts—without any

factual support for that claim. Stein v. Cortes, 223 F. Supp. 3d 423, 432 (E.D. Pa.

2016). The Court refused to find standing holding that, “Plaintiffs’ allegation[s] that

voting machines may be ‘hackable,’ and the seemingly rhetorical question they pose

respecting the accuracy of the vote count, simply do not constitute [an] injury-in-

fact.” Id.; see also Samuel v. V.I. Joint Bd. of Elections, No. 2012-0094, 2013 WL

842946, at *3 (D.V.I. Mar. 7, 2013).

      The dearth of factual allegations at this late date is telling, given the Trump

Campaign’s reiteration of the same speculative fears across multiple lawsuits filed

in the Commonwealth of Pennsylvania and across the United States beginning weeks

before November 3, 2020, none of which have apparently born out. The Trump

Campaign has searched for an injury and found none.

      The Trump Campaign also lacks associational standing to make claims on

behalf of Pennsylvania voters. See Warth v. Seldin, 422 U.S. 490, 499-500 (1975)

(citations omitted); see Oh v. Phila. Cnty. Bd. of Elections, No. 08-81, 2008 WL

4787583, at *7 (E.D. Pa. Oct. 31, 2008) (holding that the losing candidate “cannot

rest his claim to relief on the legal rights or interests of the voters,” as “even if



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substantiated, [such a claim] would amount to a ‘generalized grievance’ shared in

substantially equal measure by all or a large class of citizens and is not sufficient to

confer standing.”); Donald J. Trump for President, Inc. v. Cegavske, — F. Supp. 3d

—, No. 20-cv-1445, 2020 WL 5626974, at *5 (D. Nev. 2020) (holding that “[t]he

Trump Campaign does not represent Nevada voters,” whose “individual

constitutional interests are . . . distinct,” but rather “only Donald J. Trump and his

‘electoral and political goals’ of reelection.”). The Court should therefore reject the

Trump Campaign’s attempts to pretend to represent the interests of anyone but

President Trump.

             2.     The Individual Plaintiffs Do Not Allege an Injury in Fact

      The two individual Plaintiffs, Lawrence Roberts and David John Henry, also

fail to allege an injury in fact. Outside of the two paragraphs introducing Roberts

and Henry as registered voters, the Complaint is largely mute on their presence in

this action. There is one paragraph mentioning Henry—which confusingly alleges

that “voters like Mr. Henry” did not receive an opportunity to cure their defective

mail-in ballots. Compl. ¶¶ 19, 20, 211. Yet there are no allegations as to whether

Roberts or Henry even voted in the election, and, if they did, whether their ballots

were defective, and, if so, why. These bare allegations fail to establish a

particularized injury in fact. A desire that President Trump be re-elected is not a

basis for standing. Berg v. Obama, 586 F.3d 234, 240 (3d Cir. 2009) (dismissing for



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lack of standing where voter’s “wish that the Democratic primary voters had chosen

a different presidential candidate . . . do[es] not state a legal harm”).

      Further, to the extent Roberts and Henry seek to assert more generalized

injury, they still do not have standing. Berg, 586 F.3d at 239; see also Gill v.

Whitford, 138 S. Ct. 1916, 1929 (2018) (holding that voter plaintiffs did not have

standing to challenge vote dilution). Multiple federal courts, including this Court,

have rejected similar attempts to confer voters standing in recent weeks and months.

See, e.g., Penn. Voters Alliance v. Centre Cnty., No. 20-cv-1761, 2020 WL 6158309,

at *3-7 (M.D. Pa. Oct. 21, 2020) (holding that voters’ injuries were too speculative

and generalized to support standing); id., No. 20-3175 (3d Cir. Oct. 28, 2020)

(denying motion for injunction pending appeal for lack of standing); Cegavske, 2020

WL 5626974, at *4; Paher v. Cegavske, 457 F. Supp. 3d 919, 926 (D. Nev. 2020);

accord Nolles v. State Comm. for the Reorg. of Sch. Dists., 524 F.3d 892, 900 (8th

Cir. 2008) (“generalized grievance shared in common by all [Nebraska] voters” does

not confer standing).

      B.     Plaintiffs Fail to Allege Causation

      The Trump Campaign also fails to establish the causation element of standing,

which requires that “the injury has to be fairly traceable to the challenged action of

the defendant, and not the result of the independent action of some third party not




                                           21
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before the court.” Lujan, 504 U.S. at 560 (internal quotation marks and alterations

omitted).

        The Trump Campaign challenges observer security and COVID-19

restrictions applicable to all observers and it complains, without basis, that it should

have been provided increased access to the individuals counting mail-in ballots. 17

The insinuation being that mail-in ballots were fraudulent and that observers were

denied an opportunity to document this supposed fraud. See Compl. ¶ 146. But any

such fraud—which did not occur—would purportedly have been the work of third

parties, not the Counties. No standing exists to sue the Counties on that basis.

        As Judge Ranjan recently held in a related case, “this Court cannot ‘endorse

standing theories that rest on speculation about the decisions of independent actors.’”

Donald J. Trump for President, Inc., 2020 WL 5997680, at *2-3; see also Clapper

v. Amnesty Int’l USA, 568 U.S. 398, 414 (2013). In the case before Judge Ranjan,

“Plaintiffs fear[ed] that absent implementation of the security measures that they

[sought] (guards by drop boxes, signature comparison of mail-in ballots, and poll

watchers), there [was] a risk of voter fraud by other voters.” Donald J. Trump for

President, Inc., 2020 WL 5997680, at *2-3. Now, even after the election, the Trump

Campaign still cannot piece together a coherent set of allegations that: (1) fraud has


   17
     As discussed above, there is only one paragraph even referring to Henry.
Neither Henry nor Roberts allege that they tried to observe mail-in ballot counting,
and could not, or any other activity at issue in this Complaint.

                                          22
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occurred; (2) all county election measures have failed; (3) the Trump Campaign’s

preferred measures would have somehow prevented fraud; and (4) the results would

have affected whether Trump won Pennsylvania. See Townley v. Miller, 722 F.3d

1128, 1136 (9th Cir. 2013) (Ninth Circuit ruled that candidate did not have standing

where Plaintiffs failed to connect competitive injury to conduct which allegedly

violated candidate’s rights). Plaintiffs utterly fail to plead causation to establish

standing.

      C.     Plaintiffs Fail to Allege Redressability

      For similar reasons, the Trump Campaign cannot satisfy the redressability

element of standing, which requires that it “be ‘likely,’ as opposed to merely

‘speculative,’ that the injury will be ‘redressed by a favorable decision.’” Lujan, 504

U.S. at 561. The Trump Campaign only makes specific allegations about potential

fraud or vote dilution for 14 ballots. Compl. ¶¶ 57, 119. In order to win

Pennsylvania’s electoral votes, President Trump would need to overturn tens of

thousands of votes statewide. The Complaint provides no factual or legal basis to do

so. See Stein, 223 F. Supp. 3d at 433-34 (holding that candidate did not allege how

a recount would yield the votes necessary for her to prevail, and thus failed to allege

an injury that the court could redress); see also Lujan, 504 U.S. at 571 (redressability

element was lacking where “it is entirely conjectural whether the nonagency activity




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that [allegedly] affects respondents will be altered . . . by the agency activity they

seek to achieve”).

III.    Plaintiffs Have Failed to State A Viable Federal Constitutional Claim

        When the 243 paragraph-complaint is reduced to causes of action, the Trump

Campaign’s purported constitutional violations amount to a challenge to the

observers’ access to watch polls and ballots (Counts I-III), 18 and claims relating to

certain Counties’ provision of notice of deficient mail-in ballot declarations and a

limited opportunity to cure or cast provisional ballots (Counts IV-VI). 19 And despite

casting these claims as violations of “equal protection,” “due process” and the

“Electors and Elections Clauses” of the U.S. Constitution, they constitute nothing

more than dressed-up state-law claims pending before or already decided by

Pennsylvania courts that pose no federal constitutional concern.

        Pleading a due process and equal protection violation requires allegations of

intentional fraud, wholesale wrongdoing by election officials, or voting irregularities

pervasive enough to undermine the fundamental fairness of the entire election. See,

e.g., Curry v. Baker, 802 F.2d 1302, 1317 (11th Cir. 1986) (“A federally protected

right ‘is implicated where the entire election process—including as part thereof the

state’s administrative and judicial corrective process—fails on its face to afford



   18
        Compl. ¶¶ 175-180, 185-191, 194, 197-200.
   19
        Compl. ¶¶ 211-12, 220-22, 231-32. Count VII duplicates Count V.

                                          24
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fundamental fairness.’”) (quoting Griffin v. Burns, 570 F.2d 1065, 1078 (1st Cir.

1978)) (holding there was no violation of federal constitutional rights, in part

because the state courts provided an adequate procedure to address plaintiffs’

complaints about the counting of illegal ballots). Only profound, systemic

wrongdoing, such as “willful conduct” by state actors that “undermine[s] the organic

process by which candidates [are] elected,” can state a federal constitutional claim.

Acosta v. Democratic City Comm., 288 F. Supp. 3d 597, 646 (E.D. Pa. 2018); see

also Marks v. Stinson, 19 F. 3d 873, 889 (3d Cir. 1994); Gamza v. Aguirre, 619 F.2d

449, 453 (5th Cir. 1980).

      Importantly, “while the Constitution demands equal protection, that does not

mean all forms of differential treatment are forbidden.” Donald J. Trump for

President, Inc. v. Boockvar, — F. Supp. 3d —, No. 20-cv-966, 2020 WL 5997680,

at *38 (W.D. Pa. Oct. 10, 2020). A state’s election procedure may not burden the

right to vote by debasement or dilution, but “[c]ommon sense, as well as

constitutional law, compels the conclusion that states must be free to engage in

substantial regulation of elections” to ensure “order, rather than chaos” in the

administration of an election. Id. (quoting Burdick v. Takushi, 504 U.S. 428, 433

(1992) (internal quotation marks omitted) (alteration in original). That counties

within the Commonwealth exercised their delegated discretion differently does not

mean the Counties “[took] the votes of two voters, similarly situated in all respects,



                                         25
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and, for no good reason, count[ed] the vote of one but not the other.” Id. at 42. The

Trump Campaign has not identified “uneven risks of vote dilution—affecting voters

in some counties more than equivalent voters in others—but merely different voting

procedures in different counties that may contribute different amounts of vote

dilution distributed equally across the electorate as a whole. Id. at 43 (emphases in

original).

      The Trump Campaign’s poll watcher and notice-and-cure claims fall woefully

short of stating a claim of insidious malfeasance that undermined the entire

Pennsylvania election and led to the arbitrary debasement and devaluation of votes.

      A.     The U.S. Constitution Does Not Guarantee Partisan
             Representatives an Unobstructed Right to View and Inspect
             Mail-in Ballots
      Partisan poll and ballot-count watchers are not guaranteed a right to an

unobstructed view (or “appropriate” or “meaningful” access) of canvasing activities

under the U.S. Constitution. See Compl. ¶¶ 144, 178-79. The Commonwealth’s

Election Code grants qualified representatives limited rights to be present during

canvassing activities. 25 P.S. §§ 2687, 3146.8. But the Election Code contains no

requirement that the county boards of elections ensure these individuals an

unobstructed view of those activities at all times, much less any right to “inspect” or

verify mail-in ballots. See id.; cf. Compl. ¶¶ 138-150. None of this plausibly




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implicates equal protection, due process, or the Constitution’s Electors and Elections

Clauses.

      The Trump Campaign, moreover, cannot tie their observation claims to any

cognizable harm except for the unsupported “possibility” of fraud that their poll

workers could have caught through “watching” the process. As explained in

Republican Party of Pennsylvania v. Cortes, “[p]laintiffs [] cannot claim that [poll

watcher restrictions] mathematically dilute[] their votes . . . based on speculation

that fraudulent voters may be casting ballots elsewhere in the Commonwealth and

the unproven assumption that these alleged instances of voter fraud would be

prevented by the affected poll watchers were they not precluded from serving at

those locations.” 218 F. Supp. 3d 396, 407 (E.D. Pa. 2016). Without this speculative

link to potential “fraud” any claim of vote dilution or equal protection violations

disintegrate.

      The Trump Campaign also does not plead plausible claims that its designated

ballot observers were treated any differently than others. First, although the Trump

Campaign generically asserts “poll watchers” and “canvass representatives” were

“in some instances” denied access, it does not claim any were qualified observers

who complied with the state-law credentialing regulations. There is no claim of

differential treatment because of their political party. And it is of no constitutional

significance that observers’ proximity to the canvas varied by county: county boards



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are delegated the authority to set rules for observation precisely because of

reasonable considerations of differences in size, scale, facilities, staffing, security,

health, and other variations bearing upon county ballot counting processes. The

Counties established these rules to promote the security, efficiency, safety, and

integrity of the ballot-counting process, as well as to protect the sacrosanct right to

voter secrecy. That is no equal protection violation, it is the commonsensical

adjustment to real-world and weighty concerns.

      It is also worth considering that this is the third forum in which the Trump

Campaign has advanced these failing claims. These same baseless observer

arguments were raised and dismissed by the Honorable Paul S. Diamond, Jr. at the

hearing on a motion for an emergency injunction filed by the Trump Campaign on

Election Day. Donald J. Trump for President, Inc. v. Phila. Cty. Bd. of Elections.,

No. 20-cv-5533 (E.D. Pa. Nov. 3, 2020), TRO Hr’g Tr. There, the Trump Campaign

similarly asserted vague constitutional injuries claiming “a nonzero number of

people” were not being given equal access to canvassing activities. Id. at 10:10-17.

The Trump Campaign attempted to advance their contention that their poll watchers

should be able to “observe the opening of individual ballots [] and checking of

signatures,” but Judge Diamond had to remind the Trump Campaign that “we have

a virus out there” and to give the Trump Campaign the “meaningful access” sought

would require the poll watchers “be allowed to stand over [the canvassers]



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shoulders,” which would not be “safe.” Id. at 11:17-12:20; see also id. 30:16-17

(“[Observers] don’t have the right to be within 100 feet.”). The Trump Campaign

agreed to limits on the number of observers and a minimum of 6 feet of distance

from ballot-counting activities. See id., Order, ECF No. 5. Having settled this claim,

the Trump Campaign cannot now be heard to complain that greater access and

proximity were constitutionally required.

      The issue of observer access is also pending before the Pennsylvania Supreme

Court, which may decide whether, as a matter of state law anything more than mere

presence is required. But regardless of the resolution of that state-law question, the

Trump Campaign raises no viable constitutional claim around observer access. See,

e.g., Donald J. Trump for President, Inc., 2020 WL 5997680, at *46 (“To the

contrary, it is well-established that even violations of state election laws by state

officials, let alone violations by unidentified third parties, do not give rise to federal

constitutional claims except in unusual circumstances.”).

      B.     Notice and Opportunity to Cure Procedure

      This Court can readily reject the Trump Campaign’s attempt to claim it was

constitutionally injured because some county boards (or others not identified in the

Complaint) gave voters notice that their mail-in ballot declarations were deficient

and, in limited instances, gave voters an opportunity to fix the deficiency or

permitted them to submit a provisional ballot. See id. ¶¶ 133-34. If any claim exists,



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it is a fact-bound question of state law under the Election Code, not a federal

constitutional issue. The Trump Campaign offers no explanation for how it was

harmed because certain counties provided this notice, while allegedly “Republican”

counties exercised their discretion not to provide such notice (as apparently was the

case for Plaintiff Henry). See id. ¶¶ 19, 137, 211.

      At the outset, even if allowing voters to “cure” the outer declaration of their

ballot or to cast a provisional ballot were improper under state law, the vehicle for

asserting such a challenge would be an individual challenge to the particular mail-in

or provisional ballot, not a broadscale constitutional claim. It is up to the state courts

to decide whether and in what circumstances such ballots count—a process which is

presently underway and which requires no federal court intervention. See, infra,

Section IV.

      The Trump Campaign does not claim that this limited class of “cured” or

“provisional” ballots would change the outcome of the election. Moreover, the

Complaint identifies only a single voter, Mr. Henry, who sought to file a provisional

ballot in a county that did not allow him to do so. The sheer absurdity of enjoining

the certification of the state-wide count on this basis is apparent.

      C.      General Dissatisfaction with Mail-In Ballots Does Not Make Out
              A Constitutional Claim

      The Trump Campaign’s generalized and unsubstantiated suspicion of mail-in

voting does not state a legally cognizable injury. The Commonwealth offered all its


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citizens three means of exercising their right to vote: in-person, absentee, and mail-

in. That different rules apply to each method does not equate to a “two-track system

of voting” that raises any constitutional concern. See Compl. ¶ 14. Rather, it is the

exclusive purview of the Pennsylvania General Assembly to establish the methods

of election, including by establishing the ways voters may cast their ballot. The

Election Code set out the requirements for issuing and verifying absentee and mail-

in ballots. See 25 P.S. §§ 3146.2b(c), 3150.12b (applications for absentee and mail-

in ballots); see also id. §§ 3146.8(4), 3146.8(g)(3) (verification requirements for

absentee and mail-in voters).

      The Trump Campaign’s citation to various “garden variety” election

irregularities involving singular instances where mail-in ballots were not properly

handled also raise no constitutional claim. See Donald J. Trump for President, Inc.,

2020 WL 5997680, *49 (quoting Bennett v. Yoshina, 140 F.3d 1218, 1226 (9th Cir.

1998) (collecting cases of various errors, technical deficiencies, and illegally cast

votes that did not raise a Fourteenth Amendment violation); Acosta, 288 F. Supp. 3d

at 643 (collecting cases). The Trump Campaign has not identified any facially

discriminatory statute, regulation, or policy, or confirmed fraud or errors so systemic

they caused mass disenfranchisement or the devaluation of votes. To the extent

isolated errors occurred in the administration of the largest election in this




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Commonwealth’s history in the midst of the COVID-19 national disaster, the

consequence of those errors were borne equally by all voters. 20

         The limited facts presented also document the Trump Campaign’s inability to

overcome the presumption of regularity, which requires “a meaningful evidentiary

showing” before entertaining claims premised on doubts about the integrity of acts

undertaken by public officials. Nat’l Archives & Records Admin. v. Favish, 541 U.S.

157, 175 (2004); see also Phila. Redevelopment Authority v. Atuahene, 229 A.3d

1002, 1011 (Pa. Super. Ct. 2020) (“The presumption of regularity is prima facie

evidence that public officials will properly carry out their official duties, unless and

until contrary evidence is presented.”). In the election context, absent such a

showing, a court should “presume[] the returns of [an] election board were regular,

and the election officers properly and in good faith performed the duties imposed on

them.” In re Ellwood City Borough’s Contested Election, 286 Pa. 257, 259 (Pa.

1926).




   20
      Of course, neither the statutory scheme nor the Secretary’s guidance could
possibly anticipate or account for every single possible iteration of how the millions
of Pennsylvania absentee and mail-in voters might fill out the declarations
accompanying their ballots


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        D.    Plaintiffs’ Electors and Elections Clauses Claims Fails as a Matter
              of Law
        In a last-ditch effort to spoil thousands (if not millions) of votes, the Trump

Campaign asserts meritless claims for violations of the Electors and Elections

Clauses of the U.S. Constitution, which together vest State legislatures with the

authority to set the “Time” and the “Manner” for “holding Elections” and

“appoint[ing] . . . electors.” U.S. Const. art. I, § 4, cl. 1; id. art. II, § 1, cl. 2.21 See

Compl. Counts III, V & VII. 22 The Trump Campaign lacks standing to assert claims

based on purported Electors-and-Election Clause violations, which is limited to the

General Assembly. Moreover, the rules and procedures Defendants implemented for

curing ballots and observing the electoral process do not even implicate—much less

violate—the Electors or Elections Clauses of the U.S. Constitution or present a




   21
       Specifically, the Electors Clause states that “[e]ach State shall appoint, in such
Manner as the Legislature thereof may direct, a number of Electors.” U.S. Const.
art. II, § 1, cl. 2. The Elections Clause states that “[t]he Times, Places, and Manner
of holding Elections for Senators and Representatives, shall be prescribed in each
State by the Legislature thereof[.]” U.S. Const. art. I § 4, cl. 1. “The Supreme Court
interprets the words ‘the Legislature thereof,’ as used in that clause, to mean the
lawmaking processes of a state.” Corman v. Torres, 287 F. Supp. 3d 558, 573 (M.D.
Pa. 2018) (quoting Arizona State Legislature v. Arizona Indpt. Redistricting Com’n,
576 U.S. 787, 816 (2015)).
    22
       Count VII appears to be entirely duplicative of Count V. See Compl. ¶¶ 222,
242.


                                             33
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cognizable issue of federal law. the Trump Campaign’s claims to the contrary should

be dismissed with prejudice.

        As a threshold matter, the Trump Campaign has no standing to raise Electors

and Election Clauses challenges. Standing for such claims is limited to the General

Assembly or “a group to which Pennsylvania has delegated the Commonwealth’s

lawmaking power.” Corman, 287 F. Supp. 3d at 571. As a three-judge panel of this

Court already ruled, Elections Clause claims “belong, if they belong to anyone, only

to the Pennsylvania General Assembly.” 23 Id. (emphasis added). The Trump

Campaign cannot seek relief based on an alleged violation of the General Assembly’s

right to regulate elections under the U.S. Constitution. Id. at 571-73; see also

Virginia House of Delegates v. Bethune-Hill, 139 S. Ct. 1945, 1953 (2019); cf. Wise

v. Circosta, 978 F.3d 93, 2020 WL 6156302 (4th Cir. Oct. 20, 2020) (holding leaders

of both chambers of the North Carolina General Assembly lacked standing to assert

Elections Clause claim). Because the Trump Campaign lacks prudential standing to

bring Counts III, V, and VII of their Complaint, those claims should be dismissed

with prejudice.

        The Trump Campaign’s Electors claims also lacks any merit. No basis exists

for its assertion that the Counties administered the election “in ways that conflict


   23
      Because Elections Clause and the Electors Clause have “considerable
similarity,” this same logic applies to the Electors Clause. Ariz. State Leg., 576 U.S.
at 839 (Roberts, C.J., dissenting).

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with existing legislation.” Compl. ¶¶ 199, 201, 220-222. The General Assembly

expressly delegated the authority to make instructions not inconsistent with the

Election Code to the county boards of elections. 25 Pa. C.S. § 2642. The Counties’

procedures concerning observation and notice-and-cure are entirely consistent with

the Election Code and refute the notion that the Counties acted “unilaterally.” Cf.

Compl. ¶¶ 220, 232.

      But even if the Counties misconstrued the Election Code that is far from a

federal constitutional question under the Elections and Electors Clause, which

requires “significant departure” from Pennsylvania’s legislative scheme that would

“wholly change the statutorily provided apportionment of responsibility among these

various bodies.” Bush v. Gore, 531 U.S. 98, 113-14 (2000) (Rehnquist, C.J.,

concurring). Certainly nothing of that sort has been alleged by the Trump Campaign.

The claims alleged are based on minor questions of state law, not federal issues of

constitutional import.

IV.   In the Alternative, this Court Should Abstain from Deciding the Trump
      Campaign’s Claims and Allow the Pennsylvania Judiciary to Resolve
      Them

      Pennsylvania law provides clear procedures for resolving election-related

disputes and it gives ultimate responsibility in this regard to the Commonwealth’s

judiciary to hear election challenges. This Court should abstain and defer to the

Pennsylvania judiciary which are poised to decide the Trump Campaign’s claims.



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      A.     Principles of Federalism and Federal Law Require Deference to
             State Court Process
      The Pennsylvania Election Code sets forth a detailed administrative process

for challenging the validity of ballots during the vote canvassing and counting

process with the governing county board of elections. See 25 P.S. §§ 3146.8, 3154.

Further, the Election Code provides for the ultimate resolution of all disputes arising

thereunder by the Pennsylvania judiciary. The County Courts of Common Pleas are

empowered to hear all election law disputes initiated on Election Day. 25 P.S.

§ 3046; Pa. Democratic Party v. Boockvar, No. 133 MM 2020, 2020 WL 5554644,

at *37 n.2 (Pa. Sept. 17, 2020) (explaining that 25 P.S. § 3046 “provides courts of

common pleas with authority, with some latitude, to make rulings on Election Day

to secure compliance with the election laws”). The Pennsylvania General Assembly

has also delegated to the Commonwealth’s judiciary the sole power to adjudicate

appeals of election board decisions and contests of all election results—whether

alleging errors, fraud, or otherwise—according to an elaborate statutory scheme. 25

P.S. §§ 3261-3263, 3291, 3351, 3376, 3401, 3431, 3154, 3146.8; see also 25 P.S.

§ 3157(b) (“The court on an appeal shall have full power and authority to hear and

determine all matters pertaining to any fraud or error committed in any election

district to which such appeal relates, and to make such decree as right and justice

may require[.]”).




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        Pennsylvania’s comprehensive administrative and judicial apparatus is well

designed and more than adequate to dispose of election challenges arising under the

Election Code, including through an election contest. As Judge Diamond observed,

“Pennsylvania has developed its own statutory framework by which voters may

challenge elections, a framework [Pennsylvania] courts have applied for decades”

without any claim that these processes are unconstitutional. Stein, 223 F. Supp. 3d

at 439. And federal law clearly and strongly endorses this broad delegation of

authority, 3 U.S.C. § 5,24 calling for deference to a state’s own legal procedures for

resolving disputes related to that state’s appointment of presidential electors. See,

e.g., Touchston v. McDermott, 234 F.3d 1130, 1132 (11th Cir. 2000) (denying

request to enjoin the certification of election results based on such recounts, in part

because     of   the   adequacy    of   “detailed   [state-level]   election   dispute

procedures”). Having failed to invoke these state law election-contest mechanisms,

the Trump Campaign now urges this federal court to intervene in the election and

disregard Pennsylvania’s carefully crafted statutory regime.            Principles of

federalism require this Court to decline the invitation and defer to the



   24
       Section 5 provides: “If any State shall have provided…for its final
determination of any controversy or contest concerning the appointment of all or any
of the electors of such State, by judicial or other methods or procedures, and such
determination shall have been made at least six days before the time fixed for the
meeting of the electors such determination . . . shall be conclusive, and shall govern
in the counting of the electoral votes[.]” 3 U.S.C. § 5.

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Commonwealth’s “authority to regulate the right to vote.” See Trump for President,

Inc. v. Boockvar, No. 20-CV-966, 2020 WL 4920952, *16 (W.D. Pa. Aug. 23, 2020);

Republican Party, 218 F. Supp. 3d at 404-05 (“Comity between the state and federal

governments also counsels against last-minute meddling.”).

      B.     The Court Should Abstain Under Younger

      Abstention is also appropriate under the Younger doctrine. “Younger

abstention is proper where: (1) there are ongoing state judicial proceedings involving

the federal plaintiff; (2) the state proceedings implicate important state interests; and

(3) the state proceedings afford an adequate opportunity to raise the federal claims.”

Stein, 223 F. Supp. 3d at 435. “Abstention is particularly appropriate where the

requested equitable relief would ‘render the state court’s orders or judgments

nugatory.’” Id. (quoting Schall v. Joyce, 885 F.2d 101, 108 (3d Cir. 1989)).

      In Stein, Judge Diamond held that the Younger doctrine counseled abstention

from granting plaintiff Jill Stein’s request for an injunction directing “recounts of

votes counted by optical-scan machines and a forensic review of DRE machines”

given that Stein was seeking the same relief before various boards of elections and

courts of common pleas. Id. Judge Diamond explained that “[t]he Commonwealth

has an obvious interest in regulating the conduct of its elections.” Id. And the federal-

court relief sought would effectively “nullify the Election Code provisions applied

by the State Courts and Boards,” and “annul the unfavorable judgments issued by



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these bodies.” Id. Finally, Stein could “raise in the Pennsylvania Courts the same

constitutional claims” she raised in federal court. Id. Accordingly, the Stein court

abstained under Younger.

      Judge Diamond’s rationale in Stein applies with equal force here. Parallel state

court proceedings addressing the same claims raised here are currently underway.

Those proceedings implicate the Commonwealth’s “obvious interest in regulating

the conduct of its elections.” Stein, 223 F. Supp. 3d at 436. And the Trump Campaign

could raise the same federal constitutional claims that they have asserted here in the

state court proceedings. This Court should abstain under Younger.

      C.     The Court Should Abstain Under Pullman
      Abstention is appropriate under the Pullman doctrine. See R.R. Comm. of Tex.

v. Pullman Co., 312 U.S. 496 (1941), which applies because “the federal

constitutional question might be eliminated by securing a Pennsylvania court’s

determination of an unresolved question of its local law.” Id.; see Chez Sez III Corp.

v. Township of Union, 945 F.2d 628, 631 (3d Cir. 1991); see also Trump for

President, Inc., 2020 WL 4929852, at *15 (finding abstention warranted where

“analysis of Plaintiffs’ claim would begin with an interpretation of the election-code

provisions that Plaintiffs allege Defendants have violated. But it could also end

there”).




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      The Trump Campaign tries to transform discrete Election Code issues into

federal equal protection claims. State court—not this federal court—should resolve

how the Election Code applies to resolve how the Election Code applies to the issues

presented including the rights of observers, the ability of County boards to provide

notice-and-cure of defective mail-in ballot declarations, and the standards for valid

mail-in ballots. All of this has been or should be resolved by state courts. See Trump

for President, Inc., 2020 WL 4920952 at *16; see also Pierce v. Allegheny Cnty. Bd.

of Elections, 324 F. Supp. 2d 684, 704 (W.D. Pa. 2003) (abstaining where state-court

construction of absentee-ballot provision at issue could obviate need to decide equal

protection claim). Finally, abstention is proper because “an erroneous interpretation”

of the Election Code, in the midst of ongoing challenges to ballots and the urgent

need to certify the election “would be gravely detrimental to important Pennsylvania

interests concerning state election procedures.” Fuentes, 207 F. Supp. 3d at 450

(collecting cases); accord, e.g., Pierce, 324 F. Supp. 2d at 703-04 (noting that “an

erroneous construction of the absentee ballot provision of the election code could

disrupt extremely important state policies concerning voting rights”). It is not the

role of federal courts to decide novel and important issues of state law.

V.    The Trump Campaign’s “Remedies” Are an Unconstitutional Attempt
      to Disenfranchise Millions of Pennsylvania Voters

      Over 2.6 million Pennsylvania voters cast their mail-in or absentee ballots in

this year’s general election as authorized by Pennsylvania’s General Assembly.


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They followed the process established by state law and regulation: they timely

requested their mail-in and absentee ballots; filled out their ballots and placed them

within secrecy envelopes; completed their voter declarations; and returned their

ballots to their respective Board of Elections via U.S. mail or an approved ballot

drop box before Election Day. They did all of this with the expectation that, if they

followed these rules, established by the General Assembly and County Board of

Elections, their voices would be heard and their votes would be counted. The Court

should decline the Trump Campaign’s late invitation under the Purcell doctrine and

refuse to fundamentally reinterpret the Election Code after the election, which would

disenfranchise 2.6 million Pennsylvania voters in the process. See Purcell v.

Gonzalez, 549 U.S. 1, 4 (2006).

      Purcell counsels for judicial non-interference in elections when it may have

the result of disenfranchising or confusing voters. Id. The doctrine typically

manifests when courts are called on to interpret election rules at the 11th hour, which

could result in “voter confusion” and create an “incentive to remain away from the

polls.” Id.; see also Republican Nat’l Comm. v. Democratic Nat’l Comm., 140 S. Ct.

1205, 1207 (2020). The Trump Campaign asks this Court to go even further than the

classic Purcell case. Rather than interfere with election rules shortly before it

begins—which may hinder the public’s ability to vote—they seek to retroactively




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invalidate millions of ballots by voters who voted as the General Assembly and

County Boards of Election prescribed. Purcell plainly forbids this result.

      The Trump Campaign’s plan to throw away legally cast ballots is also an

anathema to the U.S. Constitution. All qualified voters have a “constitutionally

protected right to vote and to have their votes counted.” Reynolds, 377 U.S. at 554

(citation omitted). While the Trump Campaign has failed to show their own

constitutional rights were infringed, the draconian remedy proposed by it would

strike at the heart of the rights to suffrage and equal protection held by

Pennsylvania’s voters. See Hoblock v. Albany Cnty. Bd. of Elections, 422 F.3d 77,

97 (2d Cir. 2005) (holding that plaintiffs would suffer irreparable harm “if the

election results are certified without counting the plaintiff voters’ ballots”). Such a

remedy is impermissible; a remedy established by a federal court cannot itself

infringe on the right to choose an elector or the right of equal protection. See Bonas

v. Town of N. Smithfield, 265 F.3d 69, 75 (1st Cir. 2001) (“[A]cross-the-board

disenfranchisement betokens an utter breakdown of the electoral process.”).

      Further, without evidence of any form of systemic, state-sponsored fraud, the

Trump Campaign claims they are entitled to an injunction barring Pennsylvania from

certifying the results of the election. They are wrong. Such remedies are completely

untethered from law and fact. Courts rarely even consider widescale

disenfranchisement absent the plaintiff proving a systemic fraud that was the but-for



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cause of the plaintiff’s electoral loss. See, e.g., Griffin, 570 F.2d at 1076 (“Federal

court intervention into the state’s conduct of elections for reasons other than racial

discrimination has tended, for the most part, to be limited to striking down state laws

or rules of general application which improperly restrict or constrict the franchise.”).

Indeed, the Third Circuit has explained that a district court may not order a remedy

that “disenfranchises the voters who cast legal absentee ballots.” Marks, 19 F.3d at

887. Doing so would “work significant hardship . . . effectively depriving the city’s

voters of their elections.” Lopez v. Merced Cnty., Cal., 473 F. Supp. 2d 1072, 1082

(E.D. Cal. 2007).

      Marks is instructive. There, the district court tentatively found (at the

injunction stage) that certain government officials in Philadelphia colluded with a

campaign for a statewide race by knowingly accepting illegally harvested ballots.

Marks, 19 F.3d at 877. That case was sui generis. Even in the face of actual and

widespread fraud (not present here), the Third Circuit explained that

disenfranchisement is not the proper remedy and that the plaintiff has the burden of

demonstrating that the fraud was the but-for cause of the election loss. Id. at 887.

Only after “ample record support” demonstrated “substantial wrongdoing . . . the

effects of which [were] not capable of quantification but which render[ed] the

apparent result an unreliable indicium of the will of the electorate” did the Third

Circuit permit such an extreme remedy. Id. at 886-87.



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        The rights and votes of Pennsylvania’s citizens cannot and should not be

disregarded as easily as the Trump Campaign contends. To do so would undermine

the General Assembly’s legislative intent by “arbitrarily ignoring the [mail-in and]

absentee vote[s]” that citizens submitted in good faith reliance upon Pennsylvania

laws that permitted mail-in and absentee voting. Marks, 19 F.3d at 888. The proper

focus when crafting a remedy is not on the candidates, but on “the right of the

electors to vote and to have their votes counted.” Id. at 889. One three-judge panel

has explained that it, “like other courts faced with similar situations, [was] reluctant

to set aside the results or prevent certification of an election.” Lopez, 473 F. Supp.

2d at 1081 (collecting cases); see also Ron Barber for Cong. v. Bennett, No. 14-CV-

02489, 2014 WL 6694451, at *7 (D. Ariz. Nov. 27, 2014) (explaining that the

plaintiffs had “point[ed] to no cases where a court enjoined further action by state

electoral officials after the election.”). 25


   25
      In the prayer for relief, the Trump Campaign requests that this Court issue an
order, declaration and/or injunction prohibiting the Defendant County Board of
Elections for taking certain actions including certifying election results and
tabulating certain ballots. Compl. at 84. Importantly, this Court does not have
jurisdiction to enjoin the Defendant County Board of Elections as they are arms of
the state entitled to immunity under the Eleventh Amendment of the U.S.
Constitution. Trinsey v. Montgomery Cnty. Bd. of Elections, No. 87-6975, 1988 WL
82877, at *1 (E.D. Pa. Aug. 4, 1988) (claims against Pennsylvania county boards of
election are “barred by the Eleventh Amendment”). Courts in Pennsylvania and
elsewhere have repeatedly held that so long as the claims asserted against county
boards of elections challenge their administration of federal and state-wide elections,
those claims are barred under the sovereign immunity doctrine. Id.; Hunter v.


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      Finally, the Trump Campaign’s alternate remedy of casting aside mail-in and

absentee votes from specific counties would itself violate equal protection. This

Court should resoundingly reject the Trump Campaign’s cynical effort to eliminate

votes in wholesale fashion from the most populous, most racially diverse, and among

the most Democratic areas in the Commonwealth.

                                 CONCLUSION
      Accordingly, this action seeking to disregard the lawful votes cast by over 2.6

million Pennsylvania voters should be dismissed with prejudice.




Hamilton Cnty. Bd. of Elections, 850 F. Supp. 2d 795, 801 (S.D. Ohio 2012); see
also Citizens for John W. Moore Party v. Bd. of Election Comm’rs of City of Chi.,
781 F.2d 581, 584 (7th Cir. 1986) (Easterbrook, J., dissenting from decision to
certify state-law question to Illinois Supreme Court).

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                                   Respectfully submitted,

                                   HANGLEY ARONCHICK SEGAL
Dated: November 12, 2020           PUDLIN & SCHILLER

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Board of Elections                 Forthcoming




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